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         In re Facebook, Inc., Consumer Privacy User Profile Litigation, No. 3:18-md-2843-VC
        Appendix to Application of Tina Wolfson for Lead Counsel for Consumer Plaintiff Class

     The following counsel and firms support my application for lead counsel:


# Case Name                     Case Number               Court       Firms Supporting My Application

1. Comforte v. Cambridge        3:18-cv-3394-VC           N.D. Cal.   James Vlahakis
   Analytica                                                          Joseph Davidson
                                                                      Sulaiman Law Group, Ltd.
                                                                      2500 S. Highland Avenue, Suite 200
                                                                      Lombard, Illinois 60148

2. Lodowski v. Facebook, Inc.   3:18-cv-3484-VC           N.D. Cal.   W. Craft Hughes
                                                                      Jarrett L. Ellzey
                                                                      Hughes Ellzey, LLP
                                                                      2700 Post Oak Boulevard, Suite 1120
                                                                      Houston, Texas 77056

3. Gennock v. Facebook, Inc.    3:18-cv-1891-VC           N.D. Cal.   Gary F. Lynch
                                                                      Todd D. Carpenter
                                                                      Brittany C. Casola
                                                                      Carlson Lynch Sweet Kilpela &
                                                                      Carpenter, LLP
                                                                      1350 Columbia Street, Suite 603
                                                                      San Diego, California 92101

                                                                      Karen Hanson Riebel
                                                                      Katie M. Baxter-Kauf
                                                                      Lockridge Grindal Nauen P.L.L.P.
                                                                      100 Washington Ave South, Suite 2200
                                                                      Minneapolis, Minnesota 55401

                                                                      Arthur M. Murray
                                                                      Caroline W. Thomas
                                                                      Murray Law Firm
                                                                      650 Poydras Street, Suite 2150
                                                                      New Orleans, Louisiana 70130

                                                                      Kenneth W. DeJean
                                                                      Adam R. Credeur

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                                                                  Law Offices of Kenneth W. DeJean
                                                                  417 West University Avenue
                                                                  Lafayette, Louisiana 70502

4. Malskoff v. Facebook, Inc.    3:18-cv-3393-VC      N.D. Cal.   James E. Cecchi
                                                                  Donald A. Ecklund
                                                                  Michael A. Innes
                                                                  Carella, Byrne, Cecchi, Olstein, Brody
                                                                  & Agnello, PC
                                                                  5 Becker Farm Road
                                                                  Roseland, NJ 07068

5. Beiner v. Facebook, Inc.      3:18-cv-1953-VC      N.D. Cal.   Michael W. Sobol
                                                                  David T. Rudolph
                                                                  Melissa Gardner
                                                                  Nicholas Diamand
                                                                  Lieff Cabraser Heimann & Bernstein,
                                                                  LLP
                                                                  275 Battery Street, 29th Floor
                                                                  San Francisco, CA 94111

6. Haslinger v. Facebook, Inc.   3:18-cv-1984-VC      N.D. Cal.   Derek Loeser
                                                                  Lynn Lincoln Sarko
                                                                  Gretchen Freeman Cappio
                                                                  Cari Campen Laufenberg
                                                                  Christopher Springer
                                                                  Keller Rohrback L.L.P.
                                                                  1201 Third Avenue, Suite 3200
                                                                  Seattle, Washington 98101

7. O’Hara v. Facebook, Inc.      8:18-cv-571-AG-JDE   C.D. Cal.   Timothy G. Blood
                                                                  Thomas J. O’Reardon II
                                                                  Blood Hurst & O’Reardon, LLP
                                                                  501 West Broadway, Suite 1490
                                                                  San Diego, California 92101

8. Williams v. Facebook, Inc.    3:18-cv-3676-VC      N.D. Cal.   Archie I. Grubb, II
                                                                  Wilson Daniel Miles, III
                                                                  Leslie Lee Ann Pescia
                                                                  Beasley Allen Crow Methvin Portis &
                                                                  Miles, P.C.
                                                                  272 Commerce Street
                                                                  Montgomery, Alabama 36104




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9. Picha v. Facebook. Inc.        3:18-cv-2090-VC     N.D. Cal.   Marlon E. Kimpson
                                                                  Jodi Westbrook Flowers
                                                                  Ann Ritter
                                                                  Fred Baker
                                                                  Kimberly Barone Baden
                                                                  Andrew Arnold
                                                                  Annie Kouba
                                                                  Motley Rice LLC
                                                                  28 Bridgeside Boulevard
                                                                  Mount Pleasant, South Carolina 29464

10. Iron Wing v. Facebook, Inc.   3:18-cv-2122-VC     N.D. Cal.   Timothy G. Blood
                                                                  Thomas J. O’Reardon II
                                                                  Paula R. Brown
                                                                  Blood Hurst & O’Reardon, LLP
                                                                  501 West Broadway, Suite 1490
                                                                  San Diego, California 92101

                                                                  Ben Barnow
                                                                  Erich P. Schork
                                                                  Jeffrey D. Blake
                                                                  Anthony L. Parkhill
                                                                  Barnow and Associates, P.C.
                                                                  1 N. LaSalle Street, Suite 4600
                                                                  Chicago, Illinois 60602

11. Gerena v. Facebook, Inc.      3:18-cv-2201-VC     N.D. Cal.   David S. Casey, Jr.
                                                                  Gayle M. Blatt
                                                                  Jeremy Robinson
                                                                  Angela Jae Chun
                                                                  Alyssa Williams
                                                                  Casey Gerry Schenk Francavilla Blatt &
                                                                  Penfield, LLP
                                                                  110 Laurel Street
                                                                  San Diego, California 92101

12. Labajo v. Facebook, Inc.      3:18-cv-02093-VC    N.D. Cal.   Gordon M. Fauth, Jr.
                                                                  Rosanne L. Mah
                                                                  Finkelstein Thompson LLP
                                                                  100 Pine Street, Suite 1250
                                                                  San Francisco, California 94111




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13. Redmond v. Facebook, Inc.     1:18-cv-531-VAC-MPT   D. Del.     Robert F. Ruyak
                                                                    Korula T. Cherian
                                                                    Richard Ripley
                                                                    Rebecca Anzidei
                                                                    Ruyak Cherian LLP
                                                                    1700 K Street NW, Suite 810
                                                                    Washington, DC 20006

14. Scotnicki v. Facebook, Inc.   1:18-cv-655-RGA       D. Del.     Marlon E. Kimpson
                                                                    Jodi Westbrook Flowers
                                                                    Ann Ritter
                                                                    Fred Baker
                                                                    Andrew Arnold
                                                                    Annie Kouba
                                                                    Motley Rice LLC
                                                                    28 Bridgeside Boulevard
                                                                    Mount Pleasant, South Carolina 29464

15. Schinder v. Facebook, Inc.    3:18-cv-2571-VC       N.D. Cal.   Lesley E. Weaver
                                                                    Matthew S. Weiler
                                                                    Bliechmar Fonti & Auld LLP
                                                                    555 12th Street, Suite 1600
                                                                    Oakland, California 94607

16. Bouillon v. Facebook          4:18-cv-2565-YGR      N.D. Cal.   Christopher P. Ridout
                                                                    Zimmerman Reed, LLP
                                                                    2381 Rosecrans Avenue, Suite 328
                                                                    Manhattan Beach, California 90245

17. Vance-Guerbe v. Facebook,     3:18-cv-2987-EDL      N.D. Cal.   Rosemary M. Rivas
    Inc.                                                            Quentin A. Roberts
                                                                    Courtney E. Maccarone
                                                                    Levi & Korsinsky, LLP
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                                                        Respectfully,



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